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        FILED & JUDGMENT ENTERED
               Steven T. Salata


                 January 18 2023


          Clerk, U.S. Bankruptcy Court
         Western District of North Carolina
                                                                                                _____________________________
                                                                                                         J. Craig Whitley
                                                                                                  United States Bankruptcy Judge




                            IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                         (Charlotte Division)

In re:                                                             )            Chapter 11
                                                                   )
B GSE GROUP, LLC,                                                  )            Case No. 23-30013
                                                                   )
                                Debtor.                            )

    ORDER AUTHORIZING DEBTOR TO PAY PRE-PETITION PAYROLL, PAYROLL
        TAXES, EMPLOYEE BENEFITS, AND OTHER RELATED EXPENSES

            This cause came before the Court on January 11, 2023, upon the motion of the above

captioned Debtor (the “Motion”)1 for entry of an order authorizing the Debtor to pay pre-petition

wages, salaries, and other employee benefits in accordance with existing company policies,

pursuant to sections 105(a) and 507(a) of the United States Bankruptcy Code. [Doc. 7]. Based

upon a review of the record, the evidence presented, and the arguments of counsel, the Court

finds and concludes that the relief requested in the Motion is in the best interests of the Debtor,

its estate, and its creditors, and good cause exists to grant the Motion.




1   Capitalized terms, unless otherwise defined herein, shall have the same meaning as ascribed in the Motion.


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         THEREFORE, IT IS ORDERED, ADJUDGED and DECREED that:

         1.        The Motion is granted as set forth herein.

         2.        The Debtor is authorized to honor and pay the prepetition obligations as defined

and described in the Motion, including (a) Employee Compensation, (b) Pre-Petition Benefits,

(c) Paid Leave, and (d) Third Party Fees, when due, provided that the Employees to be paid

pursuant to this Order remain employed by the Debtor at the time of such post-petition payment.

         3.        The Debtor is authorized to continue its regular prepetition practices and policies

with regard to the making of such payments in order to comply with the terms of this Order;

however, nothing contained herein shall be deemed an assumption or adoption by the Debtor of

any agreements or policies providing for such compensation and/or benefits to the Debtor’s

Employees.

         4.        Neither the entry of this Order nor anything contained herein shall impair or

prejudice the rights and objections of any party in interest relating to the Employees’ post-

petition compensation or this Court’s future consideration thereof.

         5.        Any party in interest shall be entitled to request that the Court reconsider the relief

granted herein upon a motion filed within 14 days of service of this Order.

         6.        The Debtor shall serve a copy of this Order upon the appropriate parties in interest

and file a certificate of service specifying the manner and method of service.



This Order has been signed electronically.                                      United States Bankruptcy Court
The Judge's signature and Court's seal
appear at the top of this Order.




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